                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK


 LIN KWOK KEUNG,                                            CASE NO: 1:22-cv-4466-LGS

         Plaintiff,
                                                         JOINT LETTER SUBMITTED
 vs.                                                       PURSUANT TO INITIAL
                                                       PRETRIAL CONFERENCE ORDER
 MAYS BEAUTY SALON & SPA INC.,
 a New York corporation, d/b/a MAYS
 BEAUTY SALON & SPA, and HUNG
 KANG INC., a New York corporation,

       Defendants.
 _________________________________/

Dear Judge Schofield,

       This letter is jointly submitted by the parties pursuant to your Order for an Initial Pre-trial
Conference [D.E. 9], dated June 24, 2022. The Initial Pretrial Conference is scheduled for
Wednesday, November 30, 2022, at 4:10 p.m.

         (1)  Plaintiff filed this action for declaratory and injunctive relief pursuant to Article
III of the Americans with Disabilities Act ("ADA"), alleging violation of the ADA and parallel
New York State and City laws on the Defendants' property.

        (2)     Plaintiff invokes the jurisdiction of the Court pursuant to 28 U.S.C. §1331.
Plaintiff also invokes supplemental jurisdiction over Plaintiff's claims under the New York
Executive Law and the New York City Administrative Code pursuant to 28 U.S.C. § 1367.

       (3)      Subject matter jurisdiction in this matter is not founded on diversity of citizenship,

       (4)     Defendant Mays Beauty Salon & Spa, Inc. intends to file a FRCP 12(b) (6) motion
to dismiss the complaint for failure to state a claim, unless Plaintiff agrees to file an amended
complaint. Plaintiff will be filing an amended complaint.

        (5)     No discovery has occurred as of this date. The parties cannot ascertain at this time,
what if any, discovery to be admissible under the Federal Rules of Evidence and material to proof
of claims and defenses raised in the pleadings.

       (6) The Plaintiff is requesting $1,000 dollars in compensatory damages, plus attorney's
fees and costs.

       (7) No settlement discussions have taken place in this case to date. Defendant Mays
Beauty Salon & Spa, Inc. does not consent to mediation at this time. Unless there are productive
settlement discussion, Plaintiff will prefer a referral to Mediation.
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      (8) At this time, there is no other information that the parties believe may assist this Court
          in resolving the action.

Respectfully submitted,

By: S/ B. Bradley Weitz                             By: S/ Morton S. Minsley
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